              Case 17-13342                 Doc      Filed 07/29/20 Entered 07/29/20 14:55:06                             Desc Main
 Fill in this information to identify the case:          document Page 1 of 6
 Debtor 1          Jediael  Dos Santos
                   __________________________________________________________________

 Debtor 2              ________________________________________________________________
 (Spouse, if filing)

                                         __________
 United States Bankruptcy Court for the: District      District of __________
                                                  of Massachusetts

 Case number           1:17-bk-13342
                       ___________________________________________




Official Form 410S1
Notice of Mortgage Payment Change                                                                                                           12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.


 Name of creditor: Chalet Properties III, LLC
                   _______________________________________                                                      3
                                                                                    Court claim no. (if known): _____________________


 Last 4 digits of any number you use to                                             Date of payment change:
 identify the debtor’s account:                          8 ____
                                                        ____ 5 ____
                                                                 8 ____
                                                                     6              Must be at least 21 days after date       10/01/2020
                                                                                                                              _____________
                                                                                    of this notice


                                                                                    New total payment:                              1,497.37
                                                                                                                              $ ____________
                                                                                    Principal, interest, and escrow, if any

 Part 1:         Escrow Account Payment Adjustment

 1.   Will there be a change in the debtor’s escrow account payment?
      q    No
      q    Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                the basis for the change. If a statement is not attached, explain why: ___________________________________________
                __________________________________________________________________________________________________

                   Current escrow payment: $ _______________                     New escrow payment:          $ _______________


 Part 2:         Mortgage Payment Adjustment

 2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?
      q No
      q Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                   attached, explain why: _______________________________________________________________________________
                   __________________________________________________________________________________________________

                   Current interest rate:                    3.00
                                                  _______________%               New interest rate:                      4.00
                                                                                                              _______________%

                                                                     822.52
                   Current principal and interest payment: $ _______________                                                 1,096.03
                                                                                 New principal and interest payment: $ _______________


 Part 3:         Other Payment Change

 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
      q    No
      q    Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                (Court approval may be required before the payment change can take effect.)

                   Reason for change: ___________________________________________________________________________________

                   Current mortgage payment: $ _______________                   New mortgage payment: $ _______________


Official Form 410S1                                         Notice of Mortgage Payment Change                                              page 1
            Case 17-13342                      Doc          Filed 07/29/20 Entered 07/29/20 14:55:06                             Desc Main
                                                                document Page 2 of 6

Debtor 1         Jediael   Dos Santos
                 _______________________________________________________                       Case number         1:17-bk-13342
                                                                                                             (if known) _____________________________________
                 First Name      Middle Name              Last Name




 Part 4:         Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

     q     I am the creditor.

     q     I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.



 û /s/ Michelle R. Ghidotti-Gonsalves, Esq.
     _____________________________________________________________
     Signature
                                                                                               Date     07/29/2020
                                                                                                        ___________________




 Print:             Michelle  R. Ghidotti-Gonsalves
                    _________________________________________________________                  Title   Agent  for Secured Creditor
                                                                                                       ___________________________
                    First Name                      Middle Name         Last Name



 Company            Ghidotti Berger, LLP
                    _________________________________________________________



 Address            1920  Old Tustin Avenue
                    _________________________________________________________
                    Number                 Street

                    Santa Ana                        CA     92705
                    ___________________________________________________
                    City                                                State       ZIP Code



 Contact phone      949-427-2010
                    ________________________                                                           bknotifications@ghidottigberger.com
                                                                                               Email ________________________




Official Form 410S1                                                   Notice of Mortgage Payment Change                                             page 2
Case 17-13342      Doc     Filed 07/29/20 Entered 07/29/20 14:55:06 Desc Main
                               document Page 3 of 6
                                                               Case No. 1:17-bk-13342

                                CERTIFICATE OF SERVICE

         On July 29, 2020, I served the foregoing document described as Notice of Mortgage
  Payment Change on the following individuals by electronic means through the Court’s ECF
  program:

  COUNSEL(S) FOR DEBTOR(S)

  Nicola Yousif                 yousiflawecf@gmail.com, g25763@notify.cincompass.com

  TRUSTEE(S) / COUNSEL(S) FOR TRUSTEE(S)

  Carolyn Bankowski             13trustee@ch13boston.com
  John Fitzgerald               USTPRegion01.BO.ECF@USDOJ.GOV

          I declare under penalty of perjury under the laws of the United States of America
  that the foregoing is true and correct.
                                                        /s/ Ricardo Becker
                                                            Ricardo Becker

         On July 29, 2020, I served the foregoing documents described as Notice of Mortgage
  Payment Change on the following individuals by depositing true copies thereof in the United
  States mail at North Miami Beach, FL, enclosed in a sealed envelope, with postage paid,
  addressed as follows:

   Debtor
   Jediael Dos Santos
   47 Mill St
   Abington, MA 02351

          I declare under penalty of perjury under the laws of the United States of America that
  the foregoing is true and correct.
                                                         /s/ Ricardo Becker
                                                             Ricardo Becker




                                            1
     Case 17-13342               Doc         Filed 07/29/20 Entered   07/29/20
                                                             BSI Financial Services14:55:06 Desc Main
                                                 document Page
                                                             314 S4Franklin
                                                                    of 6 St. / Second Floor PO Box 517
                                                                         Titusville PA 16354
                                                                         Toll Free: 800-327-7861
                                                                         Fax: 814-217-1366
                                                                         myloanweb.com/BSI




July 22, 2020

JEDIAEL DOS SANTOS
47 MILL ST
ABINGTON        MA 02351

                                                                                             RE: Mortgage Loan #:
                                                                                                  Property Address: 47 MILL ST
                                                                                                   ABINGTON         MA 02351

Dear JEDIAEL DOS SANTOS:

Under the terms of your mortgage loan modification dated 10/01/2014, your interest rate was due to
change to 3.00000%% on 09/01/2019, to increase the interest rate to the next step rate. This change in
your interest rate would have increased your principal & interest monthly payment to $955.58, and your
first payment at the new adjusted level was to be due 10/01/2019.

However, after reviewing your account, we have determined that we inadvertently skipped making that
change. We will not ask you to pay this higher amount due to our mistake. However, we will process
this step rate change several months after it should have been made effective so that your new rate of
4.00000%% will go into effect 09/01/2020 and your new monthly principal & interest payment of
$1,096.03 will go into effect 10/01/2020. You will receive a letter notifying you of each step rate change.
Subsequent step rate changes will go into effect in accordance with the schedule set forth in your loan
modification agreement; only this particular step rate increase will go into effect late and it will end as
contemplated in your modification agreement.

We apologize for any confusion this may have created. Below is a chart that displays your current rate
and payment and this new step rate of 4.00000% and the resulting monthly payment.




Licensed as Servis One, Inc. dba BSI Financial Services.

BSI NMLS # 38078. Customer Care Hours: Mon. - Fri. 8:00 am to 11:00 pm (ET) and Sat. 8:00 am to 12:00 pm (ET).
If you have filed a bankruptcy petition and there is an "automatic stay" in effect in your bankruptcy case or you have received a
discharge of your personal liability for the obligation identified in this letter, we may not and do not intend to pursue collection of that
obligation from you personally. If either of these circumstances apply, this notice is not and should not be construed to be a demand
for payment from you personally. Unless the Bankruptcy Court has ordered otherwise, please also note that despite any such
bankruptcy filing, whatever rights we hold in the property that secures the obligation remain unimpaired.
                                                                                                                                  Page 1 of 3
     Case 17-13342               Doc         Filed 07/29/20 Entered   07/29/20
                                                             BSI Financial Services14:55:06 Desc Main
                                                 document Page
                                                             314 S5Franklin
                                                                    of 6 St. / Second Floor PO Box 517
                                                                         Titusville PA 16354
                                                                         Toll Free: 800-327-7861
                                                                         Fax: 814-217-1366
                                                                         myloanweb.com/BSI



The table below shows your current rate and payment and your new rate and payment:

                                                   Current Rate                                       New Rate
                                               and Monthly Payment                               and Monthly Payment

Interest Rate                                           3.00000%                                        4.00000%%


Principal                                                  $418.48                                         $289.34


Interest                                                   $404.04                                         $806.69

Escrow (Taxes and
                                                           $401.34                                         $401.34
Insurance)

                                                                                                       $1497.37
Total Monthly Payment                                   $1223.86
                                                                                                  due October 1, 2020
Please note:
Your monthly payment includes an escrow amount for property taxes, hazard insurance and other
escrowed expenses (if applicable). If the cost of your homeowners insurance, property taxes or other
escrowed expenses increase, your monthly payment is subject to increase as well. The escrow
payment amounts shown are based on current data and represent a reasonable estimate of
expenditures for future escrow obligations; however, please note that your escrow payments may be
adjusted periodically in accordance with applicable laws.
Your total monthly payment is calculated by adding the principal, interest and escrow amounts.


 The table below shows the schedule of adjustments to your current interest rate and estimated future
 changes to your monthly mortgage payment:

                                                                          Date next payment                  Principal and Interest
Date next rate goes into effect.                  Interest Rate
                                                                           goes into effect.                        Payment

               09/01/20                              4.00000%                    10/01/20                            $1096.03

               09/01/20                              4.12500%                    10/01/21                            $1113.87

 *Once you have reached your last step, your interest rate and payment will be fixed per the terms of
                        your modification for the remainder of your loan.

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                                                                                                                                  Page 2 of 3
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                                                                    of 6 St. / Second Floor PO Box 517
                                                                         Titusville PA 16354
                                                                         Toll Free: 800-327-7861
                                                                         Fax: 814-217-1366
                                                                         myloanweb.com/BSI




If You Anticipate Problems Making your Payments:
         Contact BSI Financial Services at 1-888-738-5873 as soon as possible to discuss your options.
         If you seek an alternative to the upcoming changes to your interest rate and payment, the
          following options may be possible (however, most are subject to lender approval):
                Refinance your loan with another lender;
                Modify your loan terms with us;
                Sell your home and use the proceeds to pay off the your current loan;
                If you are not able to continue paying your mortgage, your best option may be to find
                  more affordable housing. As an alternative to foreclosure, you may be able to enter into
                  a short sale by selling your home and using the proceeds to pay off your current loan or
                  to deliver to us a deed-in-lieu of foreclosure.

If you would like contact information for counseling agencies or programs in your area, call the U.S.
Department of Housing and Urban Development (HUD) at 1-800-569-4287 or visit
http://www.hud.gov/offices/hsg/sfh/hcc/hcs.cfm. If you would like contact information for a state
housing finance agency, contact the U.S. Consumer Financial Protection Bureau (CFPB) at
http://www.consumerfinance.gov/mortgagehelp/.

Sincerely,

JESSE MCCARTHY
NMLS # 38078; # 1195811

BSI Financial Services

This is an attempt to collect a debt. Any information obtained will be used for that purpose.

                                                                                                                       T06_T31-01112016_CA12172015




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                                                                                                                                  Page 3 of 3
